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15                                UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                      Case No.   3:17-cv-00939-WHA
19                        Plaintiff,                 CERTIFICATE OF SERVICE
20          v.
21   UBER TECHNOLOGIES, INC.,
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
22
                          Defendants.
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     CERTIFICATE OF SERVICE
     CASE NO. 3:17-CV-00939-WHA
     pa-1782295
      Case 3:17-cv-00939-WHA Document 1008 Filed 07/24/17 Page 2 of 3



 1                                    CERTIFICATE OF SERVICE

 2           I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 2000 Pennsylvania Avenue, NW Suite 6000, Washington, D.C. I am not a party to the within
 3   cause, and I am over the age of eighteen years.

 4         I further declare that on this date, I served true and correct copies of the following
     documents:
 5
           DECLARATION OF MICHELLE YANG IN SUPPORT OF DEFENDANTS’
 6          ADMINISTRATIVE MOTION TO FILE UNDER SEAL PORTIONS OF THEIR
            MOTION FOR RELIEF FROM AND EMERGENCY MOTION FOR STAY OF
 7          NON-DISPOSITIVE PRETRIAL ORDER OF MAGISTRATE JUDGE (DKT.
            951)
 8
           DEFENDANTS UBER TECHNOLOGIES, INC. AND OTTOMOTTO, LLC’S
 9          MOTION FOR RELIEF FROM AND EMERGENCY MOTION FOR STAY OF
            NON-DISPOSITIVE PRETRIAL ORDER OF MAGISTRATE JUDGE (DKT.
10          951) (UNREDACTED VERSION)

11    BY  ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
        mailing a true and correct copy through Morrison & Foerster ’s electronic mail
                                                                              LLP
12            system to the e-mail address(es) set forth below, or as stated on the attached service
              list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).
13

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     CERTIFICATE OF SERVICE
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     pa-1782295
      Case 3:17-cv-00939-WHA Document 1008 Filed 07/24/17 Page 3 of 3



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 8
            I declare under penalty of perjury that the foregoing is true and correct. Executed at
 9
     Washington, D.C., this 24th day of July, 2017.
10

11                   Michelle Yang                                    /s/ Michelle Yang
                        (typed)                                           (signature)
12

13

14

15                            ATTESTATION OF E-FILED SIGNATURE

16          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

17   Certificate of Service. In compliance with General Order 45, X.B., I hereby attest that Michelle

18   Yang has concurred in this filing.

19   Dated: July 24, 2017                                     /s/ Arturo J. González
                                                                  Arturo J. González
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     CERTIFICATE OF SERVICE
     CASE NO. 3:17-CV-00939-WHA
     pa-1782295
